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                                         IN THE UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF ARKANSAS
                                                FAYETTEVILLE DIVISION

                  UNITED STATES OF AMERICA                                       PLAINTIFF/RESPONDENT

                         v.                      CRIMINAL NO. 10-50110-003

                  JUAN SANCHEZ-SANCHEZ                                           DEFENDANT/MOVANT


                              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                         On December 3, 2014, the Defendant/Movant Juan Sanchez–Sanchez (hereinafter

                  “Defendant”) filed a “Notice of Motion and Motion for Vacature [sic] of Judgment that is Void

                  for Want of Subject Matter Jurisdiction Where the Plaintiff has Failed to Establish Article III

                  Standing to Sue Rule 60(b)(4), Fed. R. Civ. Proc.” (Doc. 242.) The Government has filed a

                  Response (Doc. 253), and the Defendant has filed a Reply. (Doc. 256).

                                                         BACKGROUND

                         On January 13, 2011, Defendant was named in one count of a four-count Second

                  Superseding Indictment filed in the United States District Court for the Western District of

                  Arkansas. (Doc. 62). Count One charged Defendant with conspiring to distribute more than 50

                  grams of a mixture or substance containing methamphetamine, in violation of Title 21 U.S.C.

                  §§ 841(a)(1) and (b)(1)(A)(viii), and Title 21 U.S.C. § 846.

                         On April 12, 2011, a pretrial conference was conducted and the case then proceeded to

                  trial, with a jury being selected and the trial set to begin the following morning. On the morning

                  of April 13, 2011, counsel for the Government and the Defendant advised the Court that they had

                  entered into a Plea Agreement. Pursuant to the written Plea Agreement, Defendant waived

                  indictment and pled guilty to an Information charging him with conspiracy to distribute




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                  methamphetamine, in violation of 21 U.S.C. §§ 841 (a) and 846. (Docs. 111, 112, 115). On

                  August 4, 2011, Defendant was sentenced to 240 months imprisonment, 5 years supervised

                  release, a $25,000.00 fine, and a $100 special assessment. (Doc. 136).

                         On August 18, 2011, Defendant filed a Notice of Appeal. (Doc. 142). On appeal,

                  Defendant’s counsel filed a motion to withdraw and a brief under Anders v. California, 386 U.S.

                  738 (1967), asserting that Defendant’s plea was not knowing and voluntary. United States v.

                  Sanchez-Sanchez, 451 F. App'x 614, 615 (8th Cir. 2012) (unpublished opinion). Defendant filed

                  a pro se supplemental brief, arguing that he was sentenced “on the wrong criminal history

                  category level” and the “wrong level according to weight.” (Doc. 174, p. 19). The Eighth

                  Circuit Court of Appeals found that any challenge to the voluntariness of Defendant’s guilty plea

                  was not cognizable on direct appeal because Defendant did not move to withdraw his plea in the

                  district court. The Eighth Circuit, having reviewed the record independently under Penson v.

                  Ohio, 488 U.S. 75 (1988), found no nonfrivoulous issues for appeal. Accordingly defense

                  counsel was granted leave to withdraw, and the District Court’s judgment was affirmed.

                         On February 27, 2012, Defendant filed a pro se Motion to Vacate under 28 U.S.C. §

                  2255. (Doc. 174). On July 31, 2013, the Court entered an order adopting the undersigned’s

                  Report and Recommendation, denied and dismissed Defendant’s § 2255 motion, and declined

                  to issue a certificate of appealability. (Doc. 221.) On January 30, 2014, the Eighth Circuit Court

                  of Appeals entered a judgment denying Defendant’s certificate of appealability and dismissed

                  his appeal. (Doc. 237-1.) The mandate was issued on April 17, 2014. (Doc. 237.)

                         In the motion now before the Court, which Defendant has purported to file pursuant to

                  Rule 60(b)(4) of the Federal Rules of Civil Procedure, Defendant asserts:


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                         This Court should vacate the judgment that is void for want of jurisdiction of the
                         subject matter, where the plaintiff has wholly failed to meet its burden to
                         establish standing to sue. [Defendant] is a living man, not subject to the penalties
                         of constructive statutes such as Title 21, and the plaintiff has failed to show
                         “injury in fact,” “causation,” and/or “redressability” either as a threshold matter
                         or at any time during the prosecution, judgment and/or appeal . . . Unless
                         standing to sue is establish[ed] before a court proceeds to the merits of the
                         plaintiff’s claim[,] the trial court is deprived of jurisdiction of the subject matter
                         and the resultant judgment is void ab initio.

                  (Doc. 242 at pg. 12.)

                                                           DISCUSSION

                         A “second or successive” §2255 motion may not be filed absent certification by the

                  Eighth Circuit, authorizing the district court to consider the successive motion. See 28 U.S.C.

                  §2244(b)(3)(a); 28 U.S.C. § 2255(h). An inmate may not bypass this requirement by purporting

                  to invoke some other procedure, such as a Rule 60(b) motion . See United States v. Lambros,

                  404 F.3d 1034, 1036 (8th Cir. 2005); Boyd v. United States, 304 F.3d 813, 814 (8th Cir. 2002)

                  (per curiam) (if Rule 60(b) motion is actually successive habeas petition, court should dismiss

                  it for failure to obtain authorization from court of appeals, or in its discretion, transfer motion

                  to court of appeals); Franqui v. Florida, 638 F.3d 1368, 1372-74 (11th Cir. 2011) (concluding

                  Rule 60(b) motion in fact was an unauthorized successive § 2255 motion). Defendant’s claim

                  that his criminal judgment should be vacated for lack of subject matter jurisdiction is a claim he

                  could have pursued in his original § 2255 motion. See 28 U.S.C. § 2255(a) (a prisoner claiming

                  that the court was without jurisdiction may move the court which imposed the sentence to vacate

                  or set aside the sentence). Because Defendant’s Rule 60(b) motion is the functional equivalent

                  of an unauthorized successive § 2255 motion, the undersigned recommends that it be




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                  DISMISSED for lack of jurisdiction. See United States v. Hines, 513 Fed. Appx. 633, 633 (8th

                  Cir. 2013); Boykin v. United States, 2000 WL 1610732, at *1 (8th Cir.2000).

                                                        CONCLUSION

                         Based upon the forgoing, the undersigned recommends that the instant motion (Doc.

                  242), which the undersigned construes to be a successive motion under 28 U.S.C. § 2255, be

                  dismissed with prejudice for lack of jurisdiction.

                         The parties have fourteen days from receipt of this report and recommendation in

                  which to file written objections pursuant to 28 U.S.C. Section 636(b)(1). The failure to file

                  timely written objections may result in waiver of the right to appeal questions of fact. The

                  parties are reminded that objections must be both timely and specific to trigger de novo

                  review by the district court.

                         Dated this 7th day of May, 2015.




                                                                     /s/ Erin L. Setser
                                                                      HON. ERIN L. SETSER
                                                                      UNITED STATES MAGISTRATE JUDGE




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